          Case 2:05-cr-00238-MCE Document 125 Filed 12/19/06 Page 1 of 7


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 9                        UNITED STATES DISTRICT COURT
10                       EASTERN DISTRICT OF CALIFORNIA
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13   UNITED STATES OF AMERICA,
                                           NO. CR. S-05-0238 FCD
14             Plaintiff,
15        v.                               ORDER
16   DALE C. SCHAFER and MARION P.
     FRY,
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               Defendants.
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20        This matter is before the court on the government’s motion
21   to disqualify defense counsel.     This matter was referred to the
22   magistrate judge for an evidentiary hearing, which was held on
23   October 23, 2005.    On November 12, 2006, the magistrate judge
24   entered Findings and Recommendations (“F&Rs”), recommending that
25   the government’s motion to disqualify defense counsel be denied.
26   The government filed objections to the F&Rs, and defendants filed
27   a response.   The court has conducted a de novo review of the
28   matter pursuant to 18 U.S.C. § 3145 and heard oral argument on
              Case 2:05-cr-00238-MCE Document 125 Filed 12/19/06 Page 2 of 7


 1   this matter on December 4, 2006.1
 2        The gravamen of the government’s motion for disqualification
 3   is that the attorneys who practice at “Pier 5 Law Offices”
 4   represent themselves to the public as a law firm, even though
 5   they claim to be practicing as a “community of sole
 6   practitioners.”      The government contends that, under California
 7   law, because, at a minimum, they create ambiguity as to the
 8   nature of their association to the public, the attorneys who
 9   practice at Pier 5 Law Offices should be treated as a law firm
10   for the purposes of a conflict analysis under the 6th Amendment.
11        The government has raised serious cause for concern
12   regarding the manner in which the attorneys of Pier 5 Law Offices
13   conduct their practices with respect to their communications to
14   the public.      Rule 1-400 of the California Rules of Professional
15   Conduct provides that a communication made by an attorney “shall
16   not . . . [c]ontain any matter, or present or arrange any matter
17   in a manner or format which is false, deceptive, or which tends
18   to confuse, deceive, or mislead the public.”           In an advisory
19   opinion, the Standing Committee on Professional Responsibility
20   and Conduct (“the Committee”) of the California State Bar
21   concluded that in order to ensure compliance with this rule,
22   “[a]ttorneys who share facilities or staff must take reasonable
23   steps under the circumstances to ensure that the public is not
24   confused, deceived, or misled concerning their relationship with
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               The magistrate judge provided a thorough and well-
     reasoned analysis of the government’s motion, which the court
27   adopts. The court writes only to elaborate on certain points
     raised in the government’s objections and defendants’ reply to
28   the F&Rs and at oral argument.

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              Case 2:05-cr-00238-MCE Document 125 Filed 12/19/06 Page 3 of 7


 1   one another.”      Cal. Eth. Op. 1997-150.      The Committee referenced
 2   one of its previous opinions which concluded that “separate sole
 3   practitioners are not allowed to use a group trade name to
 4   advertise their sole practices jointly, unless, in each usage,
 5   each attorney discloses affirmatively that he or she is a sole
 6   practitioner.”      Id. (citing Cal. Eth. Op. 1986-90).        The
 7   Committee also reinforced its prior conclusion that “[t]he
 8   crucial concern, both as a matter of legal ethics and of
 9   professional liability, is what a client knows or reasonably
10   should know, not what the lawyers privately intend or agree among
11   themselves, but fail to communicate.          Id. (quoting Cal. Eth. Op.
12   1986-90).     The evidence presented at the hearing before the
13   magistrate judge raises questions as to whether the attorneys at
14   Pier 5 Law Offices have violated Rule 1-400 of the California
15   Rules of Professional Conduct through communications with the
16   public, specifically business cards and advertisements, which
17   contain the name “Pier 5 Law Offices” or a list of the attorneys
18   who practice at Pier 5 Law Offices without disclosing that it is
19   a “community of sole practitioners.”
20        However, the evidence presented at the hearing also
21   demonstrates that Pier 5 attorneys do not conduct their practice
22   as a law firm, but as a community of sole practitioners.2
23   Moreover, the government did not present evidence that there was
24   any breach of attorney-client confidentiality between the
25   attorneys at Pier 5 Law Offices.           Nevertheless, the government
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               However, the overwhelming prominence of one Pier 5
27   lawyer, J. Tony Serra, seemed to insinuate a symbolic, comforting
     presence in the attorney-client relationship of at least one of
28   the Pier 5 attorneys, Zenia Gilg, and her client, Paul Maggy.

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          Case 2:05-cr-00238-MCE Document 125 Filed 12/19/06 Page 4 of 7


 1   argues that despite the absence of such evidence, the potentially
 2   unethical conduct of Pier 5 attorneys and the court’s interest in
 3   ensuring the integrity of the legal profession outweighs the
 4   defendants’ 6th Amendment rights to the counsel of their choice.
 5        The Sixth Amendment requires that the defendant’s right to
 6   select and be represented by his preferred attorney must be
 7   qualified by the Sixth Amendment’s essential aim to guarantee an
 8   effective advocate, free of conflicts of interest.        Wheat v.
 9   United States, 486 U.S. 153, 159 (1988); United States v. Crespo
10   de Llano, 838 F.2d 1006, 1012 (9th Cir. 1988).        It is well-
11   established that, in some cases, the conflicts of interest
12   presented by chosen counsel are such that they cannot be waived,
13   and therefore, a defendant’s right to preferred counsel must be
14   curtailed.   Wheat, 486 U.S. at 161-62.     However, the first
15   inquiry in this analysis is whether a conflict or the potential
16   for conflict is presented by preferred counsel’s representation
17   of the defendant.
18        In this case, the only basis for conflict offered by the
19   government hinges on the imputation of conflict to defendants’
20   attorneys if Pier 5 Law Offices is considered a law firm for the
21   purposes of a 6th Amendment analysis.      In determining whether
22   Pier 5 Law Offices should be treated as a law firm, the
23   government asks this court to import the rationale of California
24   State Bar Ethics Opinions.    However, while the Committee comments
25   on the effect that the attorneys’ conduct might have on
26   professional liability, it does not address the effect of
27   potential imputation of law firm status for purposes of
28   disqualification in either the civil or criminal context.         See

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              Case 2:05-cr-00238-MCE Document 125 Filed 12/19/06 Page 5 of 7


 1   Cal. Eth. Op. 1997-150; Cal. Eth. Op. 1986-90.            The government
 2   also asks the court to consider the California Supreme Court’s
 3   opinion in People v. SpeeDee Oil Change Systems, Inc., 20 Cal.
 4   4th 1135 (1999).3      The SpeeDee Oil Court addressed imputation of
 5   law firm status for the purposes of disqualification in a civil
 6   matter.     Id. at 1135.    While the California State Supreme Court’s
 7   ruling indicates the importance of considering the practicalities
 8   of the relationship between attorneys and the public designation
 9   of that relationship, the SpeeDee Oil Court was not confronted
10   with the dilemma of balancing these considerations against the
11   constitutional right to counsel of a defendant’s choice.             As
12   such, the government’s proffered authority lends little support
13   to its argument.
14        However, despite the paucity of legal precedent on this
15   issue, the government’s motion does present a difficult and close
16   question.     On one hand, the court has an “independent interest in
17   ensuring that criminal trials are conducted within the ethical
18   standards of the profession and that legal proceedings appear
19   fair to all who observe them.”         Wheat, 486 U.S. at 160.      In this
20   context, Pier 5 Law Office’s communications with the public are
21   troubling to the court.        The representations of Pier 5 lawyers
22   through advertisements, business cards, and their references to
23   fellow Pier 5 lawyers as “partners,” at best, lends itself to
24   ambiguity and, at worst, violates California Rules of
25   Professional Conduct.       To the extent that a reasonable member of
26   the public would perceive the entity as a law firm, it would
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               The magistrate judge also addressed and distinguished
28   this case in his F&Rs. (F&Rs at 19).

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          Case 2:05-cr-00238-MCE Document 125 Filed 12/19/06 Page 6 of 7


 1   appear that the same law firm appears to be representing not only
 2   both defendants in this case, who may have conflicting interests,
 3   but also may have previously represented an informant against
 4   these defendants.
 5        On the other hand, the court must protect a defendants’
 6   Sixth Amendment right to counsel of choice.       “[T]he Sixth
 7   Amendment guarantees the defendant the right to be represented by
 8   an otherwise qualified attorney whom that defendant can afford to
 9   hire, or who is willing to represent the defendant even though he
10   is without funds.”   United States v. Gonzalez-Lopez, 126 S. Ct.
11   2557, 2561 (2006) (quoting Caplin & Drysdale, Chartered v. United
12   States, 491 U.S. 617, 624-25 (1989)).      “It commands, not that a
13   trial be fair, but that a particular guarantee of fairness be
14   provided - to wit, that the accused be defended by the counsel he
15   believes to be best.”   Id. at 2562.     This right is only
16   circumscribed by a “demonstration of actual conflict” or “a
17   showing of a serious potential for conflict.”       Wheat, 486 U.S. at
18   1700; see also Gonzalez-Lopez, 126 S. Ct. at 2561-63.         In this
19   case, the government has not presented sufficient evidence that
20   the conduct of the attorneys at Pier 5 Law Offices, in their
21   representations to the public and solicitation of business,
22   creates the actual or potential conflict of interest that would
23   be present if they practiced in the same law firm.        Nor is there
24   sufficient evidence to suggest that defendants’ attorneys will
25   not “use every skill, expend every energy, tap every legitimate
26   resource in the exercise of independent professional judgment on
27   behalf of the client and in undertaking representation on the
28   client’s behalf.”    Trone v Smith, 621 F.2d 994, 998 (9th Cir.

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          Case 2:05-cr-00238-MCE Document 125 Filed 12/19/06 Page 7 of 7


 1   1980).
 2        The court finds the F&Rs to be supported by the record and
 3   by the magistrate judge’s analysis.      Therefore, the Findings and
 4   Recommendation filed November 12, 2006, are ADOPTED in full, and
 5   the government’s motion for disqualification is DENIED.
 6        IT IS SO ORDERED.
 7   DATED: December 18, 2006
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11                              FRANK C. DAMRELL, JR.
                                UNITED STATES DISTRICT JUDGE
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